Case 2:19-cv-08967-PSG-JC Document 169-1 Filed 07/09/20 Page 1 of 32 Page ID
                                 #:3224


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      Telephone: 714-641-5100
  6 Facsimile: 714-546-9035

  7 Attorneys for Plaintiff ALTAIR INSTRUMENTS,
      INC.
  8
                                          UNITED STATES DISTRICT COURT
  9
                                     CENTRAL DISTRICT OF CALIFORNIA
 10
      ALTAIR INSTRUMENTS, INC., a                       Case No. 2:19-cv-08967-PSG-JC
 11 California corporation,
                                                        DISCOVERY MATTER
 12                          Plaintiff,
                                                        DECLARATION OF RONALD P.
 13              vs.                                    OINES IN SUPPORT OF EX PARTE
                                                        APPLICATION FOR ORDER
 14 TELEBRANDS CORP., etc., et al,                      REQUIRING WALMART TO
                                                        PRODUCE DOCUMENTS BEFORE
 15                          Defendants.                DEPOSITION AND EXPERT
                                                        REPORT
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                                                             DECL OF R. OINES ISO EX PARTE
      2118/024004-0037
                                                             APPLICATION FOR ORDER REQUIRING
      15262500.1 a07/09/20                                   WALMART TO PRODUCE DOCUMENTS
Case 2:19-cv-08967-PSG-JC Document 169-1 Filed 07/09/20 Page 2 of 32 Page ID
                                 #:3225


  1             I, Ronald P. Oines, declare as follows:
  2             1.           I am a partner with the law firm Rutan & Tucker, LLP, counsel of
  3 record for plaintiff Altair Instruments, Inc. (“Altair” or “Plaintiff”) in this action. I

  4 am a member in good standing of the State Bar of California and am admitted to

  5 practice before this Court. I make this Declaration in support of Plaintiff’s Ex Parte

  6 Application for an Order requiring Walmart (“Walmart”) to produce documents

  7 before deposition and expert report (the “Application”). I have personal knowledge

  8 of the facts set forth in this Declaration, except as stated on information and belief,

  9 and, if called as a witness, could and would testify competently to such facts under

 10 oath.

 11             2.           A true and correct copy of Altair’s Subpoena to Produce Documents,
 12 Information, or Objects or to Permit Inspection of Premises in a Civil Action to

 13 Walmart, Inc. is attached hereto as Exhibit 1.

 14             3.           A true and correct copy of Walmart, Inc.’s Objections to Altair
 15 Instruments Inc.’s Subpoena to Product Documents, Information, or Objects is

 16 attached hereto as Exhibit 2.

 17             4.           A true and correct copy of email exchanges between Altair’s counsel
 18 and Telebrands’ counsel is attached hereto as Exhibit 3.

 19             5.           I prepared this Application and the Declaration and proposed order. It
 20 took me approximately five hours to prepare all of the documents. Altair is being

 21 billed $500 per hour for my time preparing this Application.

 22             I declare under penalty of perjury under the laws of the United States of
 23 America that the foregoing is true and correct.

 24             Executed this 9th day of July, 2020, in Costa Mesa, California.
 25

 26
 27                                                                     Ronald P. Oines
 28

                                                                 DECL OF R. OINES ISO EX PARTE
      2118/024004-0037
                                                                 APPLICATION FOR ORDER REQUIRING
      15262500.1 a07/09/20                               -1-     WALMART TO PRODUCE DOCUMENTS
Case 2:19-cv-08967-PSG-JC Document 169-1 Filed 07/09/20 Page 3 of 32 Page ID
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                  EXHIBIT 1
        Case 2:19-cv-08967-PSG-JC Document 169-1 Filed 07/09/20 Page 4 of 32 Page ID
                                         #:3227
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                               for the
                                                   CENTRAL DISTRICT OF CALIFORNIA

ALTAIR INSTRUMENTS, INC.                                                      )
                               Plaintiff                                      )
                                  v.                                          )       Civil Action No. 2:19-cv-08967-PSG-JC
                                                                              )
TELEBRANDS CORP., et al.                                                      )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
 To: Walmart, Inc.

                                                       (Name of person to whom this subpoena is directed)

        Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:

See Attachment "A"

  Place: North Winds Process                                                            Date and Time:
         c/o Nationwide Legal                                                           June 1, 2020
         119 S. 2nd Street                                                              10:00 a.m.
         Rogers, Arkansas 72756

        Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date: May 12, 2020
                                   CLERK OF COURT
                                                                                            OR

                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature
                                                                                                  Ronald P. Oines
The name, address, e-mail address, and telephone number of the attorney representing (name of party) Plaintiff
ALTAIR INSTRUMENTS, INC.                                                 , who issues or requests this subpoena, are:
Ronald P. Oines (roines@rutan.com), Seth M. Jessee (sjessee@rutan.com)
Rutan & Tucker, LLP, 611 Anton Blvd., Ste. 1400, Costa Mesa, CA 92626; Telephone: (714) 641-5100
                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
                                                                                                                                   American LegalNet, Inc.
                                                                                                                                   www.FormsWorkFlow.com

                                                                                                                                   Exhibit 1, Page 2
         Case 2:19-cv-08967-PSG-JC Document 169-1 Filed 07/09/20 Page 5 of 32 Page ID
                                          #:3228
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)


Civil Action No.

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)

               I served the subpoena by delivering a copy to the named person as follows:


                                                                                            on (date)                                  ; or

               I returned the subpoena unexecuted because:


            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $

My fees are $                                  for travel and $                                  for services, for a total of $ 0.00



          I declare under penalty of perjury that this information is true.


Date:
                                                                                                     Server’s signature



                                                                                                   Printed name and title




                                                                                                        Server’s address

Additional information regarding attempted service, etc.:




                                                                                                                                     American LegalNet, Inc.
                                                                                                                                     www.FormsWorkFlow.com

                                                                                                                                      Exhibit 1, Page 3
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                                          #:3229
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                               (ii) disclosing an unretained expert’s opinion or information that does
                                                                                  not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a               study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                    (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or              described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                        modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly       conditions if the serving party:
transacts business in person, if the person                                            (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                     otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial              (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                  (e) Duties in Responding to a Subpoena.
  (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or               (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is       procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                          information:
   (B) inspection of premises at the premises to be inspected.                       (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                       must organize and label them to correspond to the categories in the demand.
                                                                                     (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney             If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps         information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the              which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must               (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include            person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who           information in more than one form.
fails to comply.                                                                     (D) Inaccessible Electronically Stored Information. The person
                                                                                  responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                           from sources that the person identifies as not reasonably accessible because
  (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to           order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of      reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,        made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                requesting party shows good cause, considering the limitations of Rule
  (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or           (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to            (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.       under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for         material must:
compliance or 14 days after the subpoena is served. If an objection is made,          (i) expressly make the claim; and
the following rules apply:                                                             (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party        tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an           privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                          (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the       subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from     trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                    that received the information of the claim and the basis for it. After being
                                                                                  notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                            information and any copies it has; must not use or disclose the information
  (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                      information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                              present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits              compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                          produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no     resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                      (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a             The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on         motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                              who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,               subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).




                                                                                                                                        American LegalNet, Inc.
                                                                                                                                        www.FormsWorkFlow.com

                                                                                                                                         Exhibit 1, Page 4
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  1                                   ATTACHMENT “A” TO SUBPOENA
  2                                  DEFINITIONS AND INSTRUCTIONS
  3             1.           The terms “Walmart,” “you” and “your” refer to Walmart, Inc. and its
  4 parents, subsidiaries, divisions, and/or affiliated entities, past or present, and each of

  5 their respective officers, directors, agents, employees, attorneys or anyone else

  6 acting or purporting to act on their behalf.

  7             2.           The term “Telebrands” refers to defendant Telebrands Corp., and its
  8 parents, subsidiaries, divisions, and/or affiliated entities, past or present, and each of

  9 their respective officers, directors, agents, employees, attorneys or anyone else
 10 acting or purporting to act on their behalf.

 11             3.           The terms “Altair” and “Plaintiff’ refer to plaintiff Altair Instruments,
 12 Inc. and its parents, subsidiaries, divisions, and/or affiliated entities, past or present,

 13 and each of their respective officers, directors, agents, employees, attorneys or

 14 anyone else acting or purporting to act on their behalf.

 15             4.           The term “‘739 Patent” means U.S. Patent No. 6,241,739, entitled
 16 “Microdermabrasion Device And Method Of Treating The Skin Surface.”

 17             5.           The term “Accused Device” means the device generally known as the
 18 “Dermasuction” device that includes the “sonic head” or any other abrasive tip.

 19             6.           The terms “relate to” and “relating to” mean to refer to, mention,
 20 embody, illustrate, describe, memorialize, summarize and/or constitute.

 21             7.           The term “document” or “documents” include, without limitation,
 22 originals, master and every copy of writings and printed matter of any kind and

 23 description, computer generated documents (including but not limited to internet

 24 pages and all other files), photographs, graphs, charts and drawings, notes and

 25 records of any oral communications, and other data compilations from which

 26 information can be obtained, as defined by Federal Rule of Evidence 1001, in the

 27 possession, custody or control of Plaintiff, or known to it, wherever located. The

 28 term also includes any and all things subject to discovery pursuant to Rule 34(a) of


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      15064574.1 a05/13/20                                -1-
                                                                                       Exhibit 1, Page 5
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                                 #:3231


  1 the Federal Rules of Civil Procedure and includes physical objects and things within

  2 the meaning of that Rule, such as research and development samples, prototype

  3 devices, production samples and the like. Any translation of a document as well as

  4 any copy of any document which contains any marking not appearing on the

  5 original document or which is an alteration of the original in any way or which is

  6 discovered at a different location or in the possession or custody of a different

  7 person is to be considered a separate document.

  8             8.           The term “communication” means any transmission of information
  9 orally, by documents, or by any other medium, including but not limited to any of
 10 the following: conversations, discussion, interviews, meetings and conferences,

 11 whether in person, by telephone, or by some other medium, letters, memoranda,

 12 telegrams, and telexes, mailgrams, e-mail, and transmission of information by

 13 computer or word processing system.

 14             9.           In the event you produce original documents for inspection and
 15 copying, such production shall be as the documents are kept in the usual course of

 16 business.

 17           REQUESTS FOR PRODUCTION OF DOCUMENTS AND THINGS
 18 Request No. 1:

 19             All communications between you and any employee of or attorney for
 20 Telebrands relating to the Accused Device, including the development of the device

 21 and the decision to sell it by Walmart.

 22 Request No. 2:

 23             All communications between you and any employee of or attorney for
 24 Telebrands relating to this lawsuit, Plaintiff or the ‘739 patent.

 25 Request No. 3:

 26             All documents that relate to the Accused Device and include the word
 27 “microdermabrasion.”

 28


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      15064574.1 a05/13/20                              -2-
                                                                                   Exhibit 1, Page 6
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  1 Request No. 4:

  2             Documents sufficient to show how many of the Accused Device you have
  3 sold by month in any of your physical stores in the United States.

  4 Request No. 5:

  5             Documents sufficient to show the revenue and profit you have derived from
  6 the sale of the Accused Device by month in any of your physical stores in the United

  7 States.

  8 Request No. 6:

  9             Documents sufficient to show how many of the Accused Device you have
 10 sold by month through www.walmart.com or any other website.

 11 Request No. 7:

 12             Documents sufficient to show the revenue and profit you have derived from
 13 the sale of the Accused Device by month through www.walmart.com or any other

 14 website.

 15 Request No. 8:

 16             Documents sufficient to show the number of replacement parts for the
 17 Accused Device you have sold per month.

 18 Request No. 9:

 19             Documents sufficient to show your revenues and profits per month from your
 20 sale of replacement parts for the Accused Device.

 21 Request No. 10:

 22             All communications that relate to the ‘739 Patent.
 23 Request No. 11:

 24             All communications that relate to this lawsuit.
 25 Request No. 12:

 26             All documents that refer or relate to Altair or its patents or products.
 27 Request No. 13:

 28             A copy of all agreements between Telebrands and you relating to the sale of

      2118/024004-0037
      15064574.1 a05/13/20                          -3-
                                                                                 Exhibit 1, Page 7
Case 2:19-cv-08967-PSG-JC Document 169-1 Filed 07/09/20 Page 10 of 32 Page ID
                                  #:3233


   1 products at your stores or on your website.

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       15064574.1 a05/13/20                   -4-
                                                                   Exhibit 1, Page 8
Case 2:19-cv-08967-PSG-JC Document 169-1 Filed 07/09/20 Page 11 of 32 Page ID
                                  #:3234


  1                                SERVICE LIST
  2    Robert T. Maldonado                    Peter J. Farnese
       Laura A. Alos                          BESHADA FARNESE LLP
  3    COOPER AND DUNHAM LLP                  11601 Wilshire Blvd., Ste. 500
       30 Rockefeller Plaza, 20th Flr.        LosAngeles, CA 90025
  4    New York, NY 10112                     Email: pjf@bfllplaw.com
       Email: rmaldonado@cooperdunham.com
  5           lalos@cooperdunham.com
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      2118/024004-0037
      14385341.1 a05/28/20
                                                                   Exhibit 1, Page 9
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                                  #:3235


  1                                       PROOF OF SERVICE
  2                          (Altair Instruments, Inc. v. Telebrands Corp., et al.
                                  USDC Case No. 2:19-cv-08967-SJO-JC)
  3
      STATE OF CALIFORNIA, COUNTY OF ORANGE
  4
  5        I am employed by the law office of Rutan & Tucker, LLP in the County of
    Orange, State of California. I am over the age of 18 and not a party to the within
  6 action. My business address is 611 Anton Boulevard, Suite 1400, Costa Mesa,
    California 92626-1931. My electronic notification address is
  7 csolorzano@rutan.com.
  8             On May 15, 2020, I served on the interested parties in said action the within:
  9             SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION,
                OR OBJECTS OR TO PERMIT INSPECTION OF PREMISES
 10             IN A CIVIL ACTION
 11 as stated below:
 12             (BY MAIL) by placing a true copy thereof in sealed envelope(s) addressed as
                shown on the attached service list.
 13
           In the course of my employment with Rutan & Tucker, LLP, I have, through
 14 first-hand personal observation, become readily familiar with Rutan & Tucker,
    LLP’s practice of collection and processing correspondence for mailing with the
 15 United States Postal Service. Under that practice, I deposited such envelope(s) in an
    out-box for collection by other personnel of Rutan & Tucker, LLP, and for ultimate
 16 posting and placement with the U.S. Postal Service on that same day in the ordinary
    course of business. If the customary business practices of Rutan & Tucker, LLP
 17 with regard to collection and processing of correspondence and mailing were
    followed, and I am confident that they were, such envelope(s) were posted and
 18 placed in the United States mail at Costa Mesa, California, that same date. I am
    aware that on motion of party served, service is presumed invalid if postal
 19 cancellation date or postage meter date is more than one day after date of deposit for
    mailing in affidavit.
 20
      X (BY E-MAIL) by transmitting a true copy of the foregoing document(s) to the
 21        e-mail addresses set forth on the attached service list.
 22         I certify that I am employed in the office of a member of the bar of this Court
      at whose direction the service was made.
 23
                Executed on May, 15, 2020, at Costa Mesa, California.
 24
                I declare under penalty of perjury that the foregoing is true and correct.
 25
 26                    Cecilia Solórzano                            /s/ Cecilia Solórzano
                      (Type or print name)                               (Signature)
 27
 28

      2118 024004-0037
      14385341.1 a05/15/20
                                                                                 Exhibit 1, Page 10
Case 2:19-cv-08967-PSG-JC Document 169-1 Filed 07/09/20 Page 13 of 32 Page ID
                                  #:3236


  1                                SERVICE LIST
  2    Robert T. Maldonado                    Peter J. Farnese
       Laura A. Alos                          BESHADA FARNESE LLP
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  4    New York, NY 10112                     Email: pjf@bfllplaw.com
       Email: rmaldonado@cooperdunham.com
  5           lalos@cooperdunham.com
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      2118 024004-0037
      14385341.1 a05/15/20
                                                                  Exhibit 1, Page 11
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                   EXHIBIT 2
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                                  #:3238


 1
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 3
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     Los Angeles, CA 90025
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 5

 6   COOPER & DUNHAM LLP
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 7
     Laura A. Alos (admitted pro hac vice)
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11
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12
     Attorneys for WALMART INC.
13

14                      UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA
15

16                                       )
                                         )
17   ALTAIR INSTRUMENTS, INC., a         )     Case No. 2:19-cv-08967-PSG-JC
     California corporation,             )
18                                       )     WALMART INC.’S OBJECTIONS
                             Plaintiff,  )     TO ALTAIR INSTRUMENTS INC.’S
19                                       )
                  v.                     )     SUBPOENA TO PRODUCE
20                                       )     DOCUMENTS, INFORMATION, OR
     TELEBRANDS CORP., a New Jersey )          OBJECTS
21   corporation, DOES 1 through 10,     )
                                         )
22                           Defendants. )
                                         )
23

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                                                                   Exhibit 2, Page 12
Case 2:19-cv-08967-PSG-JC Document 169-1 Filed 07/09/20 Page 16 of 32 Page ID
                                  #:3239


 1         Walmart Inc. (“Walmart”), by and through its undersigned counsel, hereby
 2   responds to Altair Instruments Inc.’s (“Altair”) Subpoena to Produce Documents,
 3   Information, or Objects (“Subpoena”), as follows:
 4                               GENERAL OBJECTIONS
 5         1.     Walmart objects to Altair’s Subpoena to the extent it seeks documents
 6   which may constitute one or more of the following:
 7
           A.     Work product materials of an attorney for Walmart;
 8

 9
           B.     Communications between officers, directors, agents, representatives or
                  employees of Walmart and their respective attorneys;
10

11         C.     An undue burden, unnecessary expense, harassment, and/or annoyance;

12         D.     Matters that are privileged pursuant to the Federal Rules of Civil
13                Procedure or Federal Rules of Evidence or at common law;

14         E.     Documents and/or communications that are irrelevant and/or
15                immaterial;

16         F.     Any other document or communication protected from discovery by any
17                federal or state statute or common law.

18
           2.     Walmart objects to the Definitions and Instructions to the extent they

19
     are unduly broad, unduly burdensome, or require more from Walmart than the

20
     duties and obligations contained in the Federal Rules of Civil Procedure and the

21
     Local Rules of the Central District of California.

22
           3.     Walmart objects to Altair’s Subpoena to the extent that it requires

23
     documents and/or communications beyond the scope of discovery as defined by

24
     Federal Rules of Civil Procedure, and/or seek to impose a duty or obligation on

25
     Walmart beyond any duty or obligation contained in the Federal Rules of Civil

26
     Procedure.

27
           4.     Walmart objects to Altair’s Subpoena to the extent it calls for the

28
     violation of a confidentiality obligation owed to a third party.


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 1         5.      Walmart objects to Altair’s Subpoena to the extent it seeks documents
 2   and/or communications that are not within Walmart’s possession, custody or
 3   control. Similarly, Walmart objects to obtaining or providing documents and/or
 4   communications that are not available from a reasonable search of Walmart’s
 5   respective files or a reasonable inquiry of its current employees.
 6         6.      Walmart objects to Altair’s Subpoena as unreasonably burdensome to
 7   the extent it requests documents and/or communications that can independently be
 8   obtained by Altair from other sources, such as documents in the custody and control
 9   of Altair or Telebrands, and materials available on the Internet.
10         7.      Walmart objects to Altair’s Subpoena as overbroad and unduly
11   burdensome. Pursuant to Federal Rule of Civil Procedure 26(b)(2)(iii), in
12   responding to the Subpoena, Walmart will conduct a reasonable investigation under
13   the circumstances.
14         8.      Walmart objects to Altair’s Subpoena to the extent it seeks
15   confidential and/or proprietary business and financial documents.
16         9.      Walmart’s responses to Altair’s Subpoena are not intended to waive,
17   and do not constitute waiver of, any and all objections which Walmart may have to
18   the admissibility, authenticity, competency, materiality, privilege or relevance of
19   the documents and/or communications provided, or objections that Telebrands may
20   raise in a motion in limine or otherwise. Walmart expressly reserves all such
21   objections.
22         10.     Walmart objects to the definitions of “Telebrands” and “Altair” as
23   overbroad, indefinite, and vague insomuch as the definitions refer to “past”
24   “parents, subsidiaries, divisions, and/or affiliated entities” and includes persons and
25   entities unknown to Walmart. The party definitions are also objectionable on the
26   grounds that they request information from protected and irrelevant individuals,
27   such as attorneys.
28


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                                  #:3241


 1         11.    Walmart objects to the Subpoena as being overbroad to the extent that
 2   it fails to specify a relevant time period for which documents and/or
 3   communications are requested.
 4         12.    Neither the General Objections, nor the Specific Responses set forth
 5   below, are an admission relative to the existence of any documents or things
 6   sought, to the materiality, relevance or admissibility of any response, or to the truth
 7   or accuracy of any statement or characterization contained in any particular request.
 8

 9              RESPONSES TO SUBPOENA TO PRODUCE DOCUMENTS,
10                            INFORMATION, OR OBJECTS
11         Subject to, and without waiving the above General Objections, and
12   incorporating each of the above General Objections by reference into each response
13   below, Walmart hereby responds more specifically to Altair’s individual requests as
14   follows:
15

16   REQUEST NO. 1:
17         All communications between you and any employee of or attorney for
18   Telebrands relating to the Accused Device, including the development of the device
19   and the decision to sell it by Walmart.
20   RESPONSE TO REQUEST NO. 1:
21         Walmart objects to this request on the grounds that the phrase “All
22   communications” is overbroad, unduly burdensome, and not limited to any
23   custodian or period of time. Walmart further objects to this request to the extent that
24   it seeks documents protected by the attorney-client privilege, the work product and
25   the common interest doctrines. Walmart further objects to this request on the
26   ground that it seeks communications that are immaterial and irrelevant to the
27   prosecution of Altair’s action against Telebrands. Walmart also objects to this
28


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 1   request on the grounds that it seeks third-party discovery of communications in
 2   Altair’s and/or Telebrands’ possession.
 3         Without waiving the foregoing specific and General Objections, Walmart
 4   will produce non-privileged responsive communications, to the extent any exist.
 5   REQUEST NO. 2:
 6         All communications between you and any employee of or attorney for
 7   Telebrands Corp. relating to this lawsuit, Plaintiff or the ‘739 patent.
 8   RESPONSE TO REQUEST NO. 2:
 9         Walmart objects to this request on the grounds that the phrase “All
10   communications” is overbroad, unduly burdensome, and not limited to any
11   custodian or period of time. Walmart further objects to this request on the ground
12   that it seeks documents protected by the attorney-client privilege, the work product
13   and the common interest doctrines. Walmart further objects to this request on the
14   ground that it seeks documents that are immaterial and irrelevant to the prosecution
15   of Altair’s action against Telebrands. Walmart also objects to this request on the
16   grounds that it seeks third-party discovery of communications in Altair’s and/or
17   Telebrands’ possession.
18         Without waiving the foregoing specific and General Objections, Walmart
19   will produce non-privileged responsive communications, to the extent any exist.
20

21   REQUEST NO. 3:
22         All documents that relate to the Accused Device and include the word
23   “microdermabrasion.”
24   RESPONSE TO REQUEST NO. 3:
25         Walmart objects to this request on the grounds that the phrase “All
26   documents that relate to” is overbroad, unduly burdensome, and not limited to any
27   period of time. Walmart further objects to the request to the extent it seeks publicly
28   available documents or documents already in Altair’s possession. Walmart objects

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 1   to this request on the grounds that it seeks documents that are immaterial and
 2   irrelevant to the prosecution of Altair’s action against Telebrands. Walmart further
 3   objects to this request on the grounds that it seeks documents that constitute
 4   proprietary or confidential and competitively sensitive business information.
 5   Walmart further objects to this request to the extent that it seeks documents
 6   protected by the attorney-client privilege, the work product and the common
 7   interest doctrines.
 8          Without waiving the foregoing specific and General Objections, Walmart
 9   will produce non-privileged responsive communications, to the extent any exist.
10

11   REQUEST NO. 4:
12          Documents sufficient to show how many of the Accused Device you have
13   sold by month in any of your physical stores in the United States.
14   RESPONSE TO REQUEST NO. 4:
15          Walmart objects to this request on the grounds that the number of Accused
16   Devices sold by Walmart is irrelevant to Altair’s claim of patent infringement
17   against Telebrands. Financial information (including, but not limited to, revenues,
18   units sold, profits) relating to sales of the Accused Device by Walmart is not
19   relevant to any issue in the case against Telebrands. If Altair were to prevail at trial,
20   its damages claim would be based on sales by Telebrands, the Defendant, not sales
21   by Walmart, a third party. Walmart objects to this request on the grounds that it is
22   unduly burdensome and vague in that it seeks sales information “by month” “in
23   any” of Walmart’s physical stores. Walmart further objects to this request on the
24   grounds that it seeks documents that constitute proprietary or confidential and
25   competitively sensitive business information. Walmart also objects to this request
26

27

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                                                                           Exhibit 2, Page 17
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 1   on the grounds that Altair is already in possession of the information sought in the
 2   request.
 3             Subject to and without waiving any of the foregoing specific objections or
 4   General Objections, Walmart states that it has already produced sales documents
 5   pertaining to its sale of the Accused Device, before the claims against Walmart
 6   were severed and stayed. Walmart does not intend to produce any additional
 7   documents relating to sales of the Accused Product.
 8   REQUEST NO. 5:
 9             Documents sufficient to show the revenue and profit you have derived from
10   the sale of the Accused Device by month in any of your physical stores in the United
11   States.
12   RESPONSE TO REQUEST NO. 5:
13             Walmart objects to this request on the grounds that the revenue and profit
14   relating to sales of Accused Devices sold by Walmart is irrelevant to Altair’s claim
15   of patent infringement against Telebrands. Financial information (including, but not
16   limited to, revenues, units sold, profits) relating to sales of the Accused Device by
17   Walmart is not relevant to any issue in the case against Telebrands. If Altair were to
18   prevail at trial, its damages claim would be based on sales by Telebrands, the
19   Defendant, not sales by Walmart, a third party. Walmart objects to this request on
20   the grounds that it is unduly burdensome and vague in that it seeks revenue and
21   profit information by month “in any” of Walmart’s physical stores. Walmart further
22   objects to this request on the grounds that Walmart does not track profit on a
23   product by product basis. Walmart further objects to this request on the grounds
24   that it seeks documents that constitute proprietary or confidential and competitively
25   sensitive business information. Walmart also objects to this request on the grounds
26   that Altair is already in possession of the information sought in the request.
27             Subject to and without waiving any of the foregoing specific objections or
28   General Objections, Walmart states that it has already produced sales documents

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 1   pertaining to its sale of the Accused Product, before the claims against Walmart
 2   were severed and stayed. Walmart does not intend to produce any additional
 3   documents relating to sales of the Accused Product.
 4

 5   REQUEST NO. 6:
 6         Documents sufficient to show how many of the Accused Device you have
 7   sold by month through www.walmart.com or any other website.
 8   RESPONSE TO REQUEST NO. 6:
 9         Walmart objects to this request on the grounds that the number of Accused
10   Devices sold by Walmart is irrelevant to Altair’s claim of patent infringement
11   against Telebrands. Financial information (including, but not limited to, revenues,
12   units sold, profits) relating to sales of the Accused Device by Walmart is not
13   relevant to any issue in the case against Telebrands. If Altair were to prevail at trial,
14   its damages claim would be based on sales by Telebrands, the Defendant, not sales
15   by Walmart, a third party. Walmart objects to this request on the grounds that it is
16   unduly burdensome and vague in that it seeks sales information by month through
17   “any other website.” Walmart further objects to this request on the grounds that it
18   seeks documents that constitute proprietary or confidential and competitively
19   sensitive business information. Walmart also objects to this request on the grounds
20   that Altair is already in possession of the information sought in the request as it
21   pertains to www.walmart.com.
22         Subject to and without waiving any of the foregoing specific objections or
23   General Objections, Walmart states that it has already produced sales documents
24   pertaining to its sale of the Accused Product, before the claims against Walmart
25   were severed and stayed. Walmart does not intend to produce any additional
26   documents relating to sales of the Accused Product.
27

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                                                                           Exhibit 2, Page 19
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 1   REQUEST NO. 7:
 2         Documents sufficient to show the revenue and profit you have derived from
 3   the sale of the Accused Device by month through www.walmart.com or any other
 4   website.
 5   RESPONSE TO REQUEST NO. 7:
 6         Walmart objects to this request on the grounds that the revenue and profit
 7   relating to sales of Accused Devices sold by Walmart is irrelevant to Altair’s claim
 8   of patent infringement against Telebrands. Financial information (including, but not
 9   limited to, revenues, units sold, profits) relating to sales of the Accused Device by
10   Walmart is not relevant to any issue in the case against Telebrands. If Altair were to
11   prevail at trial, its damages claim would be based on sales by Telebrands, the
12   Defendant, not sales by Walmart, a third party. Walmart objects to this request on
13   the grounds that it is unduly burdensome and vague in that it seeks revenue and
14   profit information by month through “any other website.” Walmart further objects
15   to this request on the grounds that Walmart does not track profit on a product by
16   product basis. Walmart further objects to this request on the grounds that it seeks
17   documents that constitute proprietary or confidential and competitively sensitive
18   business information. Walmart also objects to this request on the grounds that
19   Altair is already in possession of the information sought in the request as it pertains
20   to www.walmart.com.
21          Subject to and without waiving any of the foregoing specific objections or
22   General Objections, Walmart states that it has already produced sales documents
23   pertaining to its sale of the Accused Product, before the claims against Walmart
24

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                                                                         Exhibit 2, Page 20
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 1   were severed and stayed. Walmart does not intend to produce any additional
 2   documents relating to sales of the Accused Product.
 3

 4   REQUEST NO. 8:
 5         Documents sufficient to show the number of replacement parts for the
 6   Accused Device you have sold per month.
 7   RESPONSE TO REQUEST NO. 8:
 8         Walmart objects to this request on the grounds that it is vague, as
 9   “replacement parts” is not defined, as well as unduly burdensome and overbroad
10   because it is not limited to any period of time or sales outlet. Subject to and without
11   waiving any of the foregoing specific objections or General Objections, Walmart
12   states that is not in possession of documents responsive this request.
13

14   REQUEST NO. 9:
15         Documents sufficient to show your revenues and profits per month from your
16   sale of replacement parts for the Accused Device.
17   RESPONSE TO REQUEST NO. 9:
18         Walmart objects to this request on the grounds that it is vague, as
19   “replacement parts” is not defined, as well as unduly burdensome and overbroad
20   because it is not limited to any period of time or sales outlet. Subject to and without
21   waiving any of the foregoing specific objections or General Objections, Walmart
22   states that is not in possession of documents responsive this request.
23

24   REQUEST NO. 10:
25         All communications that relate to the ‘739 Patent.
26   RESPONSE TO REQUEST NO. 10:
27         Walmart objects to this request on the grounds that the phrase “All
28   communications” is overbroad, unduly burdensome, and not limited to any

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 1   custodian or period of time. Walmart further objects to this request on the grounds
 2   that it seeks documents that constitute proprietary or confidential and competitively
 3   sensitive business information. Walmart further objects to this request to the extent
 4   that it seeks documents protected by the attorney-client privilege, the work product
 5   and the common interest doctrines.
 6         Without waiving the foregoing specific and General Objections, Walmart
 7   will produce non-privileged responsive communications, to the extent any exist.
 8

 9   REQUEST NO. 11:
10         All communications that relate to this lawsuit.
11   RESPONSE TO REQUEST NO. 11:
12         Walmart objects to this request on the grounds that the phrase “All
13   communications” is overbroad, unduly burdensome, and not limited to any
14   custodian or period of time. Walmart further objects to this request on the grounds
15   that it seeks documents that constitute proprietary or confidential and competitively
16   sensitive business information. Walmart further objects to this request to the extent
17   that it seeks documents protected by the attorney-client privilege, the work product
18   and the common interest doctrines.
19         Without waiving the foregoing specific and General Objections, Walmart
20   will produce non-privileged responsive communications, to the extent any exist.
21

22   REQUEST NO. 12:
23         All documents that refer or relate to Altair or its patents or products.
24   RESPONSE TO REQUEST NO. 12:
25         Walmart objects to this request on the grounds that the phrase “All
26   documents” is overbroad, unduly burdensome, not limited to any custodian or
27   period of time, and beyond the scope of permissible discovery. Walmart further
28   objects to this request on the grounds that it seeks documents that constitute

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 1   proprietary or confidential and competitively sensitive business information.
 2   Walmart further objects to this request to the extent that it seeks documents
 3   protected by the attorney-client privilege, the work product and the common
 4   interest doctrines. Walmart further objects to this request on the grounds that it
 5   seeks documents already in the possession, custody or control of Altair, as Altair
 6   was involved in litigation with Walmart over the ’739 patent.
 7         Without waiving the foregoing specific and General Objections, Walmart
 8   may be willing to produce non-privileged responsive documents, to the extent that
 9   they exist, if Altair and Walmart can agree on a narrowing of this request.
10

11   REQUEST NO. 13:
12         A copy of all agreements between Telebrands Corp. and you relating to the
13   sale of products at your stores or on your website.
14   RESPONSE TO REQUEST NO. 13:
15         Walmart objects to this request on the grounds that it is overbroad, outside
16   the scope of permissible discovery, unduly burdensome, and vague in that it seeks
17   “all agreements” between Walmart and Telebrands Corp. for any products offered
18   for sale by Walmart. Walmart’s sales of other Telebrands products (other than
19   DERMASUCTION) have no relevance to any issue in Altair’s case against
20   Telebrands. Walmart further objects to this request on the grounds that it seeks
21   documents that constitute proprietary or confidential and competitively sensitive
22   business information. Walmart also objects to this request on the grounds that it
23   seeks third-party discovery of documents in Altair’s and/or Telebrands’ possession.
24   Walmart additionally objects to this request on the grounds that Altair is already in
25   possession of the documents sought in the request which pertain to Walmart’s sales
26   of the DERMASUCTION product.
27         Subject to and without waiving any of the foregoing specific objections or
28   General Objections, Walmart states that it has already produced non-privileged

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 1   documents in response to this request, before the claims against Walmart were
 2   severed and stayed. Walmart is not aware of any additional, non-privileged
 3   documents relating to the Accused Product which respond to this request.
 4

 5

 6   Dated: May 29, 2020                   COOPER & DUNHAM LLP
 7                                         By:     /s/ Robert T. Maldonado
 8                                         Robert T. Maldonado (admitted pro hac vice)
                                           Laura A. Alos (admitted pro hac vice)
 9                                         Rmaldonado@cooperdunham.com
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15                                         Telephone:      815-935-5322
                                           Facsimile:      310-388-1232
16
                                           Attorneys for Walmart Inc.
17

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                                                                        Exhibit 2, Page 24
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 1
                                  PROOF OF SERVICE

 2
           I certify that on May 29, 2020, a true and correct copy of the foregoing was
 3
     served upon all counsel of record who are deemed to have consented to electronic
 4
     service via email.
 5
           I declare that I am employed by a member of the bar of this Court, at whose
 6
     direction this service was made.
 7
           Executed on May 29, 2020 at New York, New York.
 8

 9

10
                                                      /s/ Laura A. Alos
11
                                                      Laura A. Alos
12

13

14

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                                  #:3252




                   EXHIBIT 3
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                                         #:3253

Solórzano, Cecilia

From:                                 Laura A. Alos <lalos@cooperdunham.com>
Sent:                                 Thursday, July 9, 2020 7:26 AM
To:                                   Oines, Ronald
Cc:                                   Solórzano, Cecilia; Robert Maldonado; Jonathan P. Presvelis; Tonia Sayour
Subject:                              RE: Altair v. Telebrands


Ron, the documents may require additional days to process and produce. We will attempt to expediate, but cannot make any promises
at this time.

From: Laura A. Alos
Sent: Wednesday, July 8, 2020 8:56 AM
To: Oines, Ronald <roines@rutan.com>
Cc: Solórzano, Cecilia <CSolorzano@rutan.com>; Robert Maldonado <rmaldonado@cooperdunham.com>; Jonathan P. Presvelis
<JPresvelis@cooperdunham.com>; Tonia Sayour <tsayour@cooperdunham.com>
Subject: RE: Altair v. Telebrands

Ron, we are working on getting the production out to you as soon as possible. I will provide an update later today. Thank you.

From: Oines, Ronald <roines@rutan.com>
Sent: Monday, July 6, 2020 11:27 AM
To: Laura A. Alos <lalos@cooperdunham.com>
Cc: Solórzano, Cecilia <CSolorzano@rutan.com>; Robert Maldonado <RMALDONADO@COOPERDUNHAM.COM>; Jonathan P.
Presvelis <JPresvelis@COOPERDUNHAM.COM>; Tonia Sayour <TSayour@COOPERDUNHAM.COM>
Subject: RE: Altair v. Telebrands

Laura, I don’t believe we received Walmart’s responsive documents by the end of last week, as promised. What is the status?



Ronald P. Oines
Rutan & Tucker, LLP
611 Anton Boulevard, 14th Floor
Costa Mesa, CA 92626
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roines@rutan.com
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From: Laura A. Alos [mailto:lalos@cooperdunham.com]
Sent: Monday, June 29, 2020 3:04 PM
To: Oines, Ronald <roines@rutan.com>
Cc: Solórzano, Cecilia <CSolorzano@rutan.com>; Robert Maldonado <RMALDONADO@COOPERDUNHAM.COM>; Jonathan P.
Presvelis <JPresvelis@COOPERDUNHAM.COM>; Tonia Sayour <TSayour@COOPERDUNHAM.COM>
Subject: RE: Altair v. Telebrands

Ron,
                                                                  1
                                                                                                              Exhibit 3, Page 26
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Due to delays, we will not be able to provide all documents by the 30th. We will have the documents to you by the end of this week.

Best,

Best,

Laura A. Alos
Associate
Cooper & Dunham LLP
30 Rockefeller Plaza
New York, New York 10112
Tel. (212) 278-0526
Fax (212) 391-0525
E-mail: lalos@cooperdunham.com

__________________________________________

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From: Oines, Ronald <roines@rutan.com>
Sent: Friday, June 26, 2020 4:33 PM
To: Laura A. Alos <lalos@cooperdunham.com>; Solórzano, Cecilia <CSolorzano@rutan.com>
Cc: Robert Maldonado <RMALDONADO@COOPERDUNHAM.COM>; Jonathan P. Presvelis
<JPresvelis@COOPERDUNHAM.COM>; Tonia Sayour <TSayour@COOPERDUNHAM.COM>; Peter Farnese
<pjf@bfllplaw.com>
Subject: RE: Altair v. Telebrands

Laura, we look forward to receiving all of Walmart’s responsive documents before next Tuesday, June 30, as promised.
Ron



Ronald P. Oines
Rutan & Tucker, LLP
611 Anton Boulevard, 14th Floor
Costa Mesa, CA 92626
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roines@rutan.com
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From: Laura A. Alos [mailto:lalos@cooperdunham.com]
Sent: Monday, June 8, 2020 9:13 AM
To: Oines, Ronald <roines@rutan.com>; Solórzano, Cecilia <CSolorzano@rutan.com>
Cc: Robert Maldonado <RMALDONADO@COOPERDUNHAM.COM>; Jonathan P. Presvelis
<JPresvelis@COOPERDUNHAM.COM>; Tonia Sayour <TSayour@COOPERDUNHAM.COM>; Peter Farnese
                                                                  2
                                                                                                             Exhibit 3, Page 27
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                                          #:3255
<pjf@bfllplaw.com>
Subject: RE: Altair v. Telebrands

Ron,

Walmart is in the process of searching for and collecting responsive documents. Altair can expect to receive Walmart’s document
production before June 30th.

Best,

Laura

From: Oines, Ronald <roines@rutan.com>
Sent: Friday, June 5, 2020 5:55 PM
To: Laura A. Alos <lalos@cooperdunham.com>
Cc: Solórzano, Cecilia <CSolorzano@rutan.com>
Subject: Altair v. Telebrands

Did Walmart produce its documents in response to the Subpoena?


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                                                                                                            Exhibit 3, Page 28
